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  8                      UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
  9
 10   DENISE MARIE DAVIS,                     )   Case No.: 2:20-cv-08857-MAR
                                              )
 11               Plaintiff,                  )   {PROPOSED} ORDER AWARDING
                                              )   EQUAL ACCESS TO JUSTICE ACT
 12         vs.                               )   ATTORNEY FEES AND EXPENSES
                                              )   PURSUANT TO 28 U.S.C. § 2412(d)
 13   KILOLO KIJAKAZI,                        )   AND COSTS PURSUANT TO 28
      Acting Commissioner of Social           )   U.S.C. § 1920
 14   Security,                               )
                                              )
 15               Defendant                   )
                                              )
 16
 17         Based upon the parties’ Stipulation for the Award and Payment of Equal

 18   Access to Justice Act Fees, Costs, and Expenses:

 19         IT IS ORDERED that fees and expenses in the amount of $4,700.00 as

 20   authorized by 28 U.S.C. § 2412, and costs in the amount of $17.05 as authorized

 21   by 28 U.S.C. § 1920, be awarded subject to the terms of the Stipulation.

 22   DATE: 11/18/21

 23                            ___________________________________
                               ______________________
                                   HOONORABLE MARGO
                               THE HONORABLE     MA     A. ROCCONI
 24                            UNITED STATES MAGISTRATE JUDGE

 25
 26

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  1   Respectfully submitted,
  2   LAW OFFICES OF LAWRENCE D. ROHLFING
  3         /s/ Steven G. Rosales
      _________________________
  4   Steven G. Rosales
      Attorney for plaintiff Denise Marie Davis
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